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                                                          April 8, 2022

       Via ECF Electronic Filing
       Honorable Brian R. Martinotti, U.S.D.J.
       United States District Court
       50 Walnut Street
       Newark, NJ 07102

                  Re: East Brunswick Board of Education v. D.S. and M.S. o/b/o A.S.
                      Case No.: 2:21-cv-08279-BRM-JSA

       Dear Judge Martinotti:

              As this Court is aware, this office represents the Defendants in the above
       referenced matter. In this case, there was a full-blown due process hearing wherein
       Judge Crowley issued a final decision indicating that the district denied A.S. FAPE
       in the LRE and determined that the Lewis School of Princeton was appropriate for
       A.S. to meet her individual needs. Judge Crowley Ordered that “reimbursement”
       must be granted for the unilateral placement and continued placement. ALJ
       Crowley also Ordered 50 hours of compensatory education to be used toward
       “remedial education where needed.” (Opinion, page 15). Your Honor indicated
       that Defendants’ request for reimbursement for transportation to and from the
       Lewis School was denied without prejudice and that we could renew that request
       with the documentation. We have obtained the relevant documentation from the
       Lewis School and therefore, Defendants respectfully renew their request for
       reimbursement for transportation.

              Judge Crowley noted that the IDEA empowers Courts to Order school
       authorities to reimburse parents for their expenditures on private special education
       for a child if the Court ultimately finds such placement is proper under the IDEA.
       (Opinion, page 12). ALJ Crowley cited to N.J.A.C. 6A:14-2.10, cited below,
       which addresses the issue of reimbursement for a unilateral placement.
       Interestingly, that provision does not even employ the word “tuition” and certainly
       does not limit reimbursement to tuition alone.

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       (a) Except as provided at N.J.A.C. 6A:14-6.1(a), the district board of
       education shall not be required to pay for the cost of education, including
       special education and related services, of a student with a disability if the
       district board of education made available a free, appropriate public
       education and the parents elected to enroll the student in a nonpublic school,
       an early childhood program, or an approved private school for students with
       disabilities.
       (b) If the parents of a student with a disability who previously received
       special education and related services from the district of residence enroll
       the student in a nonpublic school, an early childhood program, or approved
       private school for students with disabilities without the consent of, or
       referral by, the district board of education, an administrative law judge may
       require the district board of education to reimburse the parents for the cost of
       enrollment if the administrative law judge finds that the district board of
       education had not made a free, appropriate public education available to the
       student in a timely manner prior to enrollment and that the private placement
       is appropriate.

 The district continues to interpret the ALJs Order in a way that limits its
 obligations and in a way that is contrary to the plain meaning of the Order.
 Specifically, the district has refused to reimburse Defendants for the full costs
 associated with transportation and instead have taken the position that
 transportation costs are capped at $1,000.00, which is aid in lieu for transportation,
 and covered under a different Code provision than that which was relied upon by
 Judge Crowley.

        Pursuant to Magistrate Allen’s direction, I am again respectfully requesting
 that this Court Order the district to reimburse Defendants for their full
 transportation costs for driving A.S. back and forth to the Lewis School. As per the
 attached, Exhibits A and B show the total number of days that A.S. attended
 school during the relevant timeframe, as per the Lewis School, as well as the map
 to show the total miles to and from the school to Defendants’ home. Defendants
 respectfully request that this Court Order the district to comply with Judge
 Crowley’s Final Decision and Your Honor’s Order requiring the district to comply
 with Judge Crowley’s decision and to reimburse Defendants the total of $
 which is the federal standard mileage rate of $.58 cents per mile x 68 miles per day
 for a total of $39.44 per day. As per the document from the Lewis School, A.S.
 attended a total of 97 days in person for 2019-2020 and a total of 63 days in person
 for the 2020-2021 school year. Therefore, Defendants respectfully request that this

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 Court Order that the district reimburse them a total of $6,310.40 less $1,977.78
 already paid to Defendants as aid in lieu, for a total amount due of $4,332.62.

         With respect to Judge Crowley’s Order for the district to pay for 50 hours of
 compensatory education for “remedial education where needed,” A.S. has been
 conditionally accepted to High Point University. However, her acceptance is
 contingent upon her completing and passing the required remedial summer
 program at High Point University called the Summer Advantage. Although we had
 discussed remanding this issue to Judge Crowley for clarification as to what she
 meant by “remedial education where needed,” it is my understanding that it was
 not remanded. However, it seems clear that this remedial summer program
 required as a condition for admission to High Point University would qualify. The
 total cost for this program is $10,000. Therefore, Defendants are respectfully
 requesting that the district be required to pay for 50 hours of this remediation
 program, which runs from June 27-July 22, 2022. Since the University does not
 break down the remedial hours, I am providing the Court with typical tutoring
 costs from well known tutoring centers like Lindamood-Bell and Huntington
 Learning Center. (Exhibits C and D). Defendants respectfully request that this
 Court Order the district to convert the 50 compensatory remedial education hours
 into a dollar figure based on standard tutor hourly rates in the industry and then
 Defendants can use that money toward paying for the required remediation
 program as a condition of A.S.’s acceptance to High Point University. Please note
 that if A.S. does not pass this required remedial summer program, her acceptance
 to High Point University will be rescinded. Moreover, although the district claimed
 that she would never go to college, being at the Lewis School has provided her
 with a foundation for learning. If A.S. passes the required remedial summer
 program, and is officially accepted to High Point University, then the district will
 be saving money on not paying for her to attend the Lewis School or transportation
 for another two years when she will turn age 21. Therefore, it is respectfully
 requested that this Court Order the district to convert the 50 hours of compensatory
 education for remedial education services to a dollar figure based on the standard
 tutoring rates within the industry and enable Defendants to use that money toward
 the required remedial summer program.

       Thank you for your attention, assistance, and courtesies in this matter.

                                        Respectfully submitted,
                                        WARSHAW LAW FIRM, LLC

                                        By: _/s/_Julie Warshaw, Esq.

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                                                Julie Warshaw, Esq.

 cc:   Jodi S. Howlett., Esq. (Via Email)
       D.S. and M.S. (Via Email)




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